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 1   Timothy E. Warriner
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
 4   Attorney for defendant,
     RACHEL HOLMES
 5
 6                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7                                EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                     )        No. CRS 09 0026 GEB
 9                                                 )
                    Plaintiff,                     )        STIPULATION AND ORDER
10                                                 )
                    v.                             )
11                                                 )        Date: May 21, 2010
     RACHEL HOLMES,                                )        Time: 9:00 a.m.
12                                                 )        Judge: Hon. Garland E.
                 Defendant.                        )        Burrell, Jr.
13   __________________________________            )
14                  The parties hereby stipulate to the following:
15          1.      A status conference in this matter is set for April 9, 2010 at 9:00 a.m.
16          2.      Additional time is needed to review discovery materials, to prepare
17                  possible pretrial motions, to review evidence in the custody of federal
18                  agents, and to meet with the client and government's counsel. Both
19                  parties, therefore, stipulate that the status conference be continued until
20                  May 21, 2010.
21          3.      It is further stipulated by the parties that time continue to be excluded to
22                  May 21, 2010 for preparation of counsel pursuant to local code T4. 18 U.S.C.
23                  3161(h)(7)(B)(iv).
24
     DATED: April 8, 2010                          /s/ Tim Warriner, Attorney for
25                                                 Defendant RACHEL HOLMES
26
     DATED: April 8, 2010                          /s/ Daniel McConkie, Jr.
27                                                 Assistant U.S. Attorney
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 1
                                               ORDER
 2
                 GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 3
         set for April 9, 2010 be continued to May 21, 2010 at 9:00 a.m., and that time
 4
         continue to be excluded to May 21, 2010, for preparation of counsel pursuant to
 5
         Local Code T4, 18 U.S.C. 3161(h)(7)(B)(iv).
 6
     Dated:    April 9, 2010
 7
 8
                                            GARLAND E. BURRELL, JR.
 9                                          United States District Judge
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